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                        Exhibit
                        Exhibit A
                                A
      Case 1:24-cr-00542-AS             Document 220-1          Filed 04/08/25         Page 2 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED      STATES OF AMERICA
                                                       Case No. 24-cr-542 (AS)
        V.
                                                       SUBPOENA       DUCES     TECUM
 SEAN COMBS,

                Defendant.



To:   Warner Bros. Discovery
      230 Park Ave. South, Ste.1
      New York, NY 10003

YOU ARE COMMANDED                to produce:

      (1)     All recordings, including raw and unedited footage, of interviews with
                                               and                                  created in
              connection with the documentary series, “The Fall of Diddy.”

      (2)
              ES                      «:: NE                                        3 connection wit te
              All diary   entries,   journals, narratives, or notes   provided by     i

              documentary series, “The Fall of Diddy.”

      (3)     Records  of any financial    payments made to
                         and                                         m connection             with   their
              involvement in the documentary series, “The Fall of Diddy.”

The documents shall be produced by email to the following address:

               Teny Geragos
               teny@agilawgroup.com

Said documents shall be produced on or before March 25, 2025.




                                                      bf
                                                  Hon. Arun Subramanian
